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  Business In
            nformation
   Business Details
                 Business Name: PIFFERT INC.                                           Business ID: 719273
                  Business Type: Foreign Profit Corporation                       Business Status: Good Standing
                                                                                 Name in State of
        Business Creation Date: 12/26/2014                                                        PIFFERT INC.
                                                                                   Incorporation:
          Date of Formation in
                                 12/26/2014
                   Jurisdiction:
    Principal Office Address: 1 Industrial Park Dr Unit 9, Pelham,               Mailing Address: 19 Lukens Drive Suite 300, New
                              NH, 03076, USA                                                      Castle, DE, 19720, USA
          Citizenship / State of
                                 Foreign/Delaware
                 Incorporation:
                                                                              Last Annual Report
                                                                                                 2022
                                                                                           Year:
                                                                                Next Report Year: 2023
                         Duration: Perpetual
                  Business Email: rahul@piffert.com                                          Phone #: 702-527-2485
                                                                                   Fiscal Year End
              Notification Email: rahul@swaminathan.com                                            NONE
                                                                                             Date:


   Principal Purpose

    S.No         NAICS Code                                                      NAICS Subcode
    1            OTHER / Packaging and shipping.
        Page 1 of 1, records 1 to 1 of 1




   Principals Information

    Name/Title                                          Business Address

    Rahul Swaminathan / President                       19 Lukens Drive Suite 300, New Castle, DE, 19720, USA

    Rahul Swaminathan / Director                        19 Lukens Drive Suite 300, New Castle, DE, 19720, USA
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   Registered Agent Information

                       Name:      DOCUSEARCH, INC.

          Registered Office       63 Pleasant Street, Concord, NH, 03302 - 0777, USA
                  Address:

         Registered Mailing       PO Box 777, Concord, NH, 03302 - 0777, USA
                   Address:


   Trade Name Information

   No Trade Name(s) associated to this business.


   Trade Name Owned By

   No Records to View.


   Trademark Information

    Trademark Number            Trademark Name                             Business Address             Mailing Address

                                                              No records to view.



              Filing History          Address History           View All Other Addresses          Name History     Shares

                               Businesses Linked to Registered Agent                Return to Search     Back

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